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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

 DAVID L. BOYKIN,

      Plaintiff,                                 Case No. 6:21-cv-00563-ADA-JCM

 v.

 GREEN MOUNTAIN ENERGY COMPANY,

      Defendant.

                           NOTICE OF VOLUNTARY DISMISSAL

        NOW COMES the Plaintiff, DAVID L. BOYKIN, and pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), hereby dismissing his claims against Defendant, GREEN MOUNTAIN ENERGY

COMPANY, with prejudice, with all parties to bear their own attorney’s fees and cost.



Dated: September 9, 2021                                  Respectfully submitted,

                                                          DAVID L. BOYKIN

                                                          By: /s/ Marwan R. Daher

                                                          Marwan R. Daher, Esq.
                                                          SULAIMAN LAW GROUP, LTD.
                                                          2500 South Highland Avenue
                                                          Suite 200
                                                          Lombard, Illinois 60148
                                                          +1 630-575-8181
                                                          mdaher@sulaimanlaw.com
